Case 2:18-cv-10167-GW-SS Document3 Filed 12/06/18 Page1of1 Page ID #:24

NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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ATTORNEY(S) FOR: Vladimir Tsipursky and Inna Tsipursky

CLEAR FORM

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Vladimir Tsipursky; and Inna Tsipursky

CASE NUMBER:

2:18-cv-10167

 

 

Plaintiff(s),
Vv.
City of Long Beach; and DOES 1-10 CERTIFICATION AND NOTICE
OF INTERESTED PARTIES
Defendant(s) (Local Rule 7.1-1)

 

TO: |THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for

Vladimir Tsipursky and Inna Tsipursky

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification

or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY

Vladimir Tsipursky
Inna Tsipursky
City of Long Beach

December 06, 2018

 

CONNECTION / INTEREST

Plaintiff
Plaintiff
Defendant

/s/ Hang D. le

 

Date Signature

Attorney of record for (or name of party appearing in pro per):

Vladimir Tsipursky and Inna Tsipursky

 

 

CV-30 (05/13)

NOTICE OF INTERESTED PARTIES
